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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                   :
ANGEL SULLIVAN-BLAKE and HORACE                    :
CLAIBORNE, on behalf of themselves and             :   CIVIL ACTION
others similarly situated,                         :
                           Plaintiffs,             :   FILED ELECTRONICALLY
               v.                                  :   ON DECEMBER 21, 2018
                                                   :
FEDEX GROUND PACKAGE SYSTEM,                       :   JURY TRIAL DEMANDED
INC.,                                              :
                   Defendant.                      :
                                                   :

                        COMPLAINT - COLLECTIVE ACTION

       Plaintiffs Angel Sullivan-Blake and Horace Claiborne (“Plaintiffs”) bring this

collective action lawsuit against Defendant FedEx Ground Package System, Inc.

(“FedEx”) on behalf of themselves and other similarly situated individuals who have

been employed by FedEx through intermediary employers to perform delivery services

on FedEx’s behalf and who have been eligible to receive overtime pay but have not been

paid time-and-a-half compensation for their hours worked in excess of forty hours per

week, in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. 1




1 Plaintiffs previously pursued their FLSA claims in a District of Massachusetts action styled
Roy, et al. v. FedEx Ground Package System, Inc., C.A. No. 3:17-cv-30116 (D. Mass.). Ms.
Sullivan-Blake was one of three originating Roy plaintiffs, while Mr. Claiborne opted-in to the
action. In May 2018, the Roy Court ruled that Ms. Sullivan-Blake could not sue FedEx in
Massachusetts as a named plaintiff. See Roy v. FedEx Ground Package System, Inc., 2018 U.S.
Dist. LEXIS 85288, 2018 WL 2324092 (D. Mass. May 22, 2018). The court indicated, however,
that it was not yet deciding whether drivers outside Massachusetts may be able to participate in
the Roy action as opt-in plaintiffs. However, in November 2018, the Roy Court granted the
plaintiffs’ conditional certification motion, but limited the FLSA collective to Massachusetts
drivers. See Roy v. FedEx Ground Package System, Inc., 2018 U.S. Dist. LEXIS 200010, 2018
WL 6179504 (D. Mass. Nov. 27, 2018). In the wake of the November decision, neither Ms.
Sullivan-Blake nor Mr. Claiborne can pursue their FLSA claim in the Roy action. So they now
pursue their FLSA claims, on behalf of themselves and other drivers across the country who may
want to join in these claims, in the judicial district where FedEx is headquartered.

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                              JURISDICTION AND VENUE

        1.       Jurisdiction is proper under 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

        2.       Venue in proper under 28 U.S.C. § 1391(b)(2).

                                          PARTIES

        3.       Plaintiff Angel Sullivan-Blake is an individual residing in Houston, Texas,

and is a citizen of Texas. She worked as a delivery driver for FedEx from approximately

November 2015 through approximately October 2018 through an intermediary entity

that FedEx calls an “independent service provider” (“ISP”). Ms. Sullivan-Blake was

eligible to receive overtime pay under the FLSA since she has driven a vehicle weighing

less than 10,000 pounds, but she did not receive overtime pay for her hours worked

beyond 40 per week.

        4.       Plaintiff Horace Claiborne is an individual residing in Kannapolis, North

Carolina, and is a citizen of the State of North Carolina. He has worked as a delivery

driver for FedEx since approximately 2011 through ISPs. Mr. Claiborne has been

eligible to receive overtime pay under the FLSA since he has driven a vehicle weighing

less than 10,000 pounds, but he does not receive overtime pay for his hours worked

beyond 40 per week.

        5.       FedEx is a Delaware corporation with its principal place of business in

Coraopolis, Pennsylvania. At all relevant times, FedEx has engaged in the business of

the delivery of packages nationwide and within the state of Pennsylvania.

        6.       FedEx employs thousands of individuals across the country, including

Plaintiffs, who are engaged in interstate commerce. FedEx is an employer covered by the

FLSA.



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                                            FACTS

       7.       FedEx operates a package pickup and delivery business servicing

customers throughout the United States.

       8.       FedEx employs thousands of package delivery drivers within the United

States, including the named Plaintiffs and others similarly situated, who: (a) work for

FedEx through intermediary employers called “independent service providers” (“FedEx

ISPs”); (b) are classified as “employees” of the FedEx ISPs; (c) have worked more than

forty hours per week delivering packages for FedEx but are not paid time-and-a-half

compensation for hours worked over forty; and (d) drive, in whole or in part, vehicles

with a gross vehicle weight rating of 10,000 pounds or less. These individuals are

referred to herein as “delivery drivers.”

       9.       Before instituting the ISP model of employing delivery drivers through

intermediary entities, FedEx relied entirely on delivery drivers that it hired directly and

treated as non-employee “independent contractors.” After years of defending litigation

challenging the employment status of these drivers – during which time various courts

held that FedEx misclassified the drivers as independent contractors 2 – FedEx shifted to

the ISP model in an effort to continue to avoid liability under the wage laws for its

delivery drivers.

       10.      FedEx ISPs are typically responsible for three or more FedEx delivery

routes. FedEx requires its ISPs to hire FedEx’s workforce of delivery drivers, and FedEx

further requires the ISPs to classify these delivery drivers as the ISPs’ employees.


2  See, e.g., Craig et al. v. FedEx Ground Package System, Inc., 335 P.3d 66 (Kan. 2014);
Alexander et al. v. FedEx Ground Package System, Inc., 765 F.3d 981 (9th Cir. 2014); Slayman
et al. v. FedEx Ground Package System, Inc., 765 F.3d 1033 (9th Cir. 2014). FedEx ultimately
settled these and many similar cases in an MDL litigation styled In re FedEx Ground Package
System Employment Practices Litigation and assigned to the Northern District of Indiana.

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       11.    However, based on the economic realities of the relationship between

FedEx and these drivers, it is clear that the delivery drivers working under the

intermediary ISPs are also FedEx employees under the FLSA.

       12.    FedEx operates a nationwide network of package handling terminals to

serve its customers’ package pickup and delivery needs around the country. FedEx

advertises its delivery service and negotiates with its customers to provide the package

pick-ups and deliveries that are performed by Plaintiffs and other delivery drivers.

       13.    Plaintiffs and other delivery drivers working under ISPs have typically

worked full-time and exclusively as FedEx drivers, delivering FedEx’s packages to FedEx

customers while wearing FedEx uniforms and driving vehicles bearing FedEx’s logos

and color scheme.

       14.    Plaintiffs and other delivery drivers working under ISPs have worked out

of FedEx-owned and managed terminals throughout the country, where FedEx

managers, package handlers, and other FedEx employees oversee and manage the

package delivery operations.

       15.    The services rendered by Plaintiffs and other delivery drivers working

under ISPs are an integral part of FedEx’s business because FedEx is in the business of

package delivery, and Plaintiffs and these other delivery drivers physically deliver

packages to FedEx’s customers on FedEx’s behalf.

       16.    Plaintiffs and other delivery drivers working under ISPs have performed

their delivery work on strict and predictable schedules pursuant to FedEx’s same-day

delivery requirements. The drivers’ schedules are dictated by the volume of packages

that FedEx requires be delivered each day on their routes. Neither these drivers, nor the

intermediary ISPs who they work under, have any control over the volume of package

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pickup and delivery work that FedEx assigns the drivers.

      17.      FedEx micromanages the manner in which Plaintiffs and other delivery

drivers working under ISPs perform their work. Some of this micromanaging is

performed directly by FedEx managers, and some is performed by the ISPs, pursuant to

standards and requirements established by FedEx (and enforced by FedEx). For

example:

      a. FedEx requires that the delivery drivers have specific equipment on their van

            when they perform deliveries for FedEx;

      b. FedEx requires the delivery drivers to wear a uniform bearing FedEx’s logos

            and color scheme and to maintain personal appearance standards established

            by FedEx;

      c. FedEx requires the delivery drivers to place specific signage on their vans

            bearing FedEx’s name and logo;

      d. FedEx assigns the specific packages that the delivery drivers must deliver and

            when the packages must be delivered;

      e. FedEx requires the drivers to scan all assigned packages with a specific

            scanner designated by FedEx upon loading each morning and upon delivery;

      f. FedEx requires the drivers to begin and end each day at a designated terminal

            operated by FedEx;

      g. Customer comments and complaints regarding the drivers’ job performance

            are made directly to FedEx, who uses its own discretion on what action to

            take;

      h. FedEx has the authority to require its ISPs to terminate the drivers working

            under them if FedEx believes they should be terminated;

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      i. FedEx closely monitors the job performance of the drivers, tracking whether

            each delivery is “successful” based on FedEx’s own standards.

      18.      Some FedEx drivers working under ISPs have worked for different ISPs at

times, and even at times directly for FedEx, but their work responsibilities, and

procedures they have been required to follow, have not differed in any material way

regardless of which ISP they have worked under or whether they have worked directly

for FedEx.

      19.      For example, Plaintiff Sullivan-Blake was initially hired directly by FedEx

to perform its deliveries, until FedEx told her she had to work under an ISP. Her work

responsibilities and the procedures she was required to follow did not change in any

material way following the conversion to her working under an ISP. She continued to

report to the same terminal each morning, drove a vehicle with a FedEx logo on it, and

followed FedEx procedures to complete her assigned deliveries.

      20.      FedEx drivers, including drivers such as the Plaintiffs who have worked

under intermediary ISPs, have routinely worked more than forty hours per week.

      21.      Plaintiff Sullivan-Blake regularly worked as a FedEx delivery driver

five days per week, from approximately 7:00 a.m. or 8:00 a.m. until between 6:00 p.m.

and 8:00 p.m. each day, totaling more than 50 hours each week.

      22.      Plaintiff Claiborne regularly works as a FedEx delivery driver five days per

week. Until approximately 2016, he regularly worked from approximately 5:30 or 6:00

a.m. until around 8:00 p.m., totaling more than 70 hours each week. Since

approximately 2016, he regularly works from approximately 5:30 a.m. until

approximately 2 or 2:30 p.m., totaling more than 40 hours each week.

      23.      Plaintiffs, as well as other FedEx delivery drivers throughout

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the country who have worked under ISPs, have driven trucks weighing less than 10,000

pounds. They are thus eligible for overtime pay under the FLSA.

       24.    However, Plaintiffs, as well as other FedEx delivery drivers

throughout the country who have worked under ISPs and have driven trucks weighing

less than 10,000 pounds, have not received overtime pay for their work beyond 40

hours per week.

       25.    Because FedEx is these drivers’ employer under the FLSA, it is liable to

them for the unpaid overtime.

       26.    By establishing a system in which FedEx employs delivery drivers through

intermediary ISPs, so as to distance itself from its responsibilities under the FLSA,

FedEx has acted in reckless disregard of the drivers’ rights under the FLSA. FedEx has

known or should have known that its delivery drivers have not been paid the overtime

they are owed by the ISPs.

       27.    However, regardless of FedEx’s actual or constructive knowledge of this

fact, it is liable for any overtime payments due to its delivery drivers who have worked

under ISPs.

                        COLLECTIVE ACTION ALLEGATIONS

       28.    Plaintiffs bring this lawsuit pursuant to the FLSA, 29 U.S.C. § 216(b), as a

collective action on behalf of delivery drivers described in this complaint, who at any

time within the relevant time period 3 have worked under ISPs, have driven vehicles

under 10,000 pounds, have worked more than 40 hours per week, and have not been

paid one-and-a-half times their regular rate of pay for overtime hours.

3  The statute of limitations for an FLSA complaint is three years. However, the running of the
limitations period was tolled for potential opt-in plaintiffs nationwide who may want to join
these claims as part of the Roy action. See note 1. supra.

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       29.    Plaintiffs and the drivers described in the previous paragraph are

“similarly situated,” as that term is defined in 29 U.S.C. § 216(b) and the associated

caselaw, because, inter alia, they all worked as FedEx delivery drivers pursuant to

FedEx’s common business practices as described above and, as a result of such

practices, have not been paid the legally mandated overtime premium.


                                     COUNT I
                         (Unpaid Overtime Under the FLSA)

       The FLSA requires that employees receive overtime premium pay of “not less

than one and one-half times” their regular pay rate for hours worked beyond 40 per

workweek. See 29 U.S.C. § 207. FedEx is liable under the FLSA for unpaid overtime

owed to Plaintiffs and other similarly situated delivery drivers who have worked for

FedEx under ISPs. FedEx’s violation of the FLSA has been willful and in reckless

disregard of these drivers’ rights.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs seek the following relief on behalf of themselves and

other similarly situated drivers:

   A. An order permitting this lawsuit to proceed as a collective action pursuant to 29
      U.S.C. § 216(b);

   B. Prompt notice, pursuant to 29 U.S.C. § 216(b), of this lawsuit to all potential class
      members allowing them to opt-in to join the claim in this case;

   C. Restitution for all unpaid overtime owed to the drivers;

   D. Liquidated damages and prejudgment interest;

   E. Litigation costs, expenses, and attorneys’ fees; and

   F. Such other and further relief as this Court deems just and proper.



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                             JURY TRIAL DEMANDED

      Plaintiffs demand a jury trial on their claim.

December 21, 2018                        Respectfully submitted,

                                         /s/ Peter Winebrake
                                         Peter Winebrake
                                         R. Andrew Santillo
                                         Mark J. Gottesfeld
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                         CONSENT TO JOIN COLLECTIVE ACTION
               Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)
              Angel Sullivan-Blake et al. v. FedEx Ground Package System, Inc.
                                           (W.D. Pa.)
         Angel sullivan
Name:

Address:
 Houston Tx 77075


Telephone:                                (home);                                 (cell)

Email:

       1.     I have been employed as a delivery driver for FedEx Ground through an
intermediary called an “Independent Service Provider,” and have driven a truck with a
gross vehicle weight rating under 10,001 pounds for some period of time within the last
three years. During this time, I have worked more than forty hours in at least some
weeks, but I have not been paid overtime (time-and-a-half) for these hours.

       2.     I consent and agree to pursue my claim for unpaid overtime against FedEx
Ground in this lawsuit, pursuant to the Fair Labor Standards Act, 29 U.S.C. §
201, et seq. I hereby consent, agree, and “opt in” to this case and understand I will be
bound by any judgment by the Court or any settlement of this action. I agree to be
represented by Lichten & Liss-Riordan, P.C., 729 Boylston Street, Suite 2000, Boston
MA 02116, in this action, along with other counsel with whom the firm may co-counsel.

       3.     I designate the named plaintiffs in this action, the collective action
representatives, as my agents to make decisions on my behalf concerning the litigation,
including the method and manner of conducting this litigation, entering into settlement
agreements, entering into an agreement with Plaintiffs’ counsel concerning attorneys’
fees and costs (with the understanding that Plaintiffs’ counsel are being paid on a
contingency fee basis, which means that if there is no recovery, there will be no
attorneys’ fees), and all other matters pertaining to this lawsuit.


Signature:                                                    Date: 12/13/18
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                         CONSENT TO JOIN COLLECTIVE ACTION
               Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)
              Angel Sullivan-Blake et al. v. FedEx Ground Package System, Inc.
                                           (W.D. Pa.)
          Horace Claiborne
Name:

Address:
 Kannapolis N.C. 28081


Telephone:                                (home);                                 (cell)

Email:

       1.     I have been employed as a delivery driver for FedEx Ground through an
intermediary called an “Independent Service Provider,” and have driven a truck with a
gross vehicle weight rating under 10,001 pounds for some period of time within the last
three years. During this time, I have worked more than forty hours in at least some
weeks, but I have not been paid overtime (time-and-a-half) for these hours.

       2.     I consent and agree to pursue my claim for unpaid overtime against FedEx
Ground in this lawsuit, pursuant to the Fair Labor Standards Act, 29 U.S.C. §
201, et seq. I hereby consent, agree, and “opt in” to this case and understand I will be
bound by any judgment by the Court or any settlement of this action. I agree to be
represented by Lichten & Liss-Riordan, P.C., 729 Boylston Street, Suite 2000, Boston
MA 02116, in this action, along with other counsel with whom the firm may co-counsel.

       3.     I designate the named plaintiffs in this action, the collective action
representatives, as my agents to make decisions on my behalf concerning the litigation,
including the method and manner of conducting this litigation, entering into settlement
agreements, entering into an agreement with Plaintiffs’ counsel concerning attorneys’
fees and costs (with the understanding that Plaintiffs’ counsel are being paid on a
contingency fee basis, which means that if there is no recovery, there will be no
attorneys’ fees), and all other matters pertaining to this lawsuit.


Signature:                                                    Date: 12/14/18
